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17                               UNITED STATES DISTRICT COURT

18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                      OAKLAND DIVISION

20    WHATSAPP LLC, and
                                        )           Case No. 4:19-cv-07123-PJH
      META PLATFORMS INC.,              )
21                                      )           [PROPOSED] ORDER REGARDING
                      Plaintiffs,       )           ADMINISTRATIVE MOTION TO
22                                      )           CONSIDER WHETHER ANOTHER
             v.                         )           PARTY’S MATERIAL SHOULD BE
23                                      )           FILED UNDER SEAL
                                        )
24    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )           Ctrm: 3
25                                      )           Judge: Hon. Phyllis J. Hamilton
                      Defendants.       )           Action Filed: October 29, 2019
26                                      )
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 1             Having considered the Administrative Motion to Consider Whether Another Party’s Material

 2   Should Be Filed Under Seal (the “Motion”) filed by Plaintiffs WhatsApp LLC and Meta Platforms,

 3   Inc. (“Plaintiffs”), concerning portions of Plaintiffs’ Notice of Motion and Motion for Permanent

 4   Injunction, the Motion is hereby GRANTED / DENIED.

 5             IT IS HEREBY ORDERED that the Motion for Permanent Injunction will / will not remain

 6   sealed.

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      Dated:
 9                                                            Honorable Phyllis J. Hamilton
                                                               United States District Judge
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     [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION
     CASE NO. 4:19-CV-07123-PJH
